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      THE PRUDENTIAL INSURANCE COMPANY
 7    OF AMERICA; AND PGIM
      REAL ESTATE FINANCE, LLC
 8
                          IN THE UNITED STATES DISTRICT COURT
 9
                       FOR THE EASTERN DISTRICT OF CALIFORNIA
10
      THE PRUDENTIAL INSURANCE           )         Case No. 1:24-cv-01102-KES-SAB
11    COMPANY OF AMERICA; and PGIM REAL )
      ESTATE FINANCE, LLC,               )
12                                       )
                          Plaintiff,     )
13                                       )
      v.                                 )         PLAINTIFF’S EX PARTE MOTION
14                                       )         FOR ORDER APPOINTING
      ACDF, LLC; ASSEMI AND SONS, INC.;  )         RECEIVER AND FOR PRELIMINARY
15    AVILA RANCH EA, LLC; BEAR FLAG     )         INJUNCTION
      FARMS, LLC; C & A FARMS, LLC;      )
16    CANTUA ORCHARDS, LLC; DA REAL      )
      ESTATE HOLDINGS, LLC; FAVIER       )
17    RANCH, LLC; FG2 HOLDINGS LLC;      )
      GRADON FARMS, LLC; GRANVILLE       )
18    FARMS, LLC; GRANTLAND HOLDINGS     )         Complaint Filed: September 16, 2024
      NO. 1, LLC; GRANTLAND HOLDINGS NO. )
19    2, LLC; GRANTOR REAL ESTATE        )
      INVESTMENTS, LLC; GVM              )
20    INVESTMENTS, LLC; GV AG, LLC;      )
      LINCOLN GRANTOR FARMS, LLC;        )
21    MARICOPA ORCHARDS, LLC; PANOCHE )
      PISTACHIOS, LLC; SAGEBERRY FARMS, )
22    LLC; DEREK BELL; and RACHEL MARIE )
      WHITE,                             )
23                                       )
                          Defendant.     )
24                                       )

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                             PLAINTIFFS’ EX PARTE MOTION FOR ORDER
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 1                         EX PARTE MOTION FOR APPOINTMENT OF
                         RECEIVER AND FOR PRELIMINARY INJUNCTION
 2

 3           Now come Plaintiff THE PRUDENTIAL INSURANCE COMPANY OF AMERICA and
 4    PGIM REAL ESTATE FINANCE, LLC (collectively, “Plaintiff”) each in its own capacity as a
 5    lender and PGIM REF also in its capacity as special servicer for and on behalf of PAR U
 6    HARTFORD LIFE & ANNUITY COMFORT TRUST, a New York trust (“Hartford Trust”
 7    and together with Plaintiff, “Lender”), by and through their counsel, and for their Ex Parte
 8    Motion for Appointment of Receiver and for Preliminary Injunction (the “Motion”), state
 9    as follows:
10                                            INTRODUCTION
11           Pursuant to Federal Rule of Civil Procedure 66, Plaintiff requests the appointment of a
12    receiver in order to protect and preserve the real and personal property (the “Property”), as more
13    fully described in Plaintiff’s Complaint for (1) Breach of Contract, Appointment of Receiver,
14    Accounting and Specific Performance of Rents-and-Profits Clause; and (2) Injunctive Relief
15    filed contemporaneously herewith (the “Complaint”), that is owned by Defendant (as defined in
16    the Complaint). Capitalized terms not defined herein shall have the meanings ascribed to them in
17    the Complaint. Plaintiff also requests that the order appointing the receiver allow the Receiver to
18    sell the Property pursuant to further court order.
19           On September 16, 2024, Plaintiff filed the Complaint against Defendant for breach of
20    contract, appointment of receiver, accounting, specific performance of rents and profits clause,
21    and injunctive relief. Although Plaintiff’s investigation is far from complete, it is beyond doubt
22    that Defendant is in default under the operative Loan Documents, it appears that Borrower
23    cannot become current under the Loan Documents. It is also readily apparent that Borrower may
24    stop operating and maintaining both the Property, including the Crops being grown thereon, due
25    to insufficient funds beyond Monday of next week. However, upon information and belief,
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                                                           1
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 1    Borrower will not have sufficient funds to operate after Friday of this week. See Borrower

 2    Weekly Cash Flows, attached hereto as Exhibit A.1

 3           This action will ensure that Plaintiff and all other creditors of Borrower shall have the

 4    Property protected and preserved and rents and proceeds of Crops collected and applied to the

 5    costs and expenses of the Property. Accordingly, Plaintiff requests that this Court issue an order

 6    appointing a receiver over the Property and enjoining any and all Defendants from interfering

 7    with Plaintiff’s rights to collect the rents, issues, and profits derived from the Property, and from

 8    interfering with the receiver’s maintenance and operation of the Property during the pendency of

 9    these proceedings. Plaintiff also request that the order appointing the receiver allow the receiver

10    to sell the Property pursuant to further court order.

11                                        STATEMENT OF FACTS

12           This action arises out of the Borrower’ numerous defaults under the Loans that Lender

13    has made to Borrower over the years, along with Borrower’s inability to fund the management

14    and upkeep of the Property, including the Crops, thereby harming Lender’s collateral and the

15    interests of all of the Borrower’s creditors. A full and complete recitation of the background facts

16    in this matter, including detailed descriptions of the various Loans and Loan Documents, are

17    contained in over 33 pages of the Complaint and for efficiency’s sake will not be repeated herein

18    but will be incorporated by reference thereto. Plaintiff also submits the Declaration of William

19    Sciacqua in support of its factual allegations, attached hereto as Exhibit B.

20           However, of specific import for this Motion, Borrower is in default under the operative

21    Loan Documents. Further, Plaintiff has learned that Borrower is also in default under loan

22    documents from other lenders that are not currently a plaintiff to this matter. Nonetheless, these

23    defaults also constitute events of default under the operative Loan Documents in this matter.

24    Plaintiff does not know how many additional defaults to how many additional lenders or

25    creditors currently exist, but these defaults (and the acceleration of related, underlying loans)

26
      1
27           The Borrower Weekly Cash Flows were prepared by Borrower and their financial
             advisors, and Borrower’s financial advisors provided the forecast to Lender on or about
28           September 13, 2024.
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 1    create a precarious financial situation for Borrower and its related entities. This financial strain

 2    and lack of operating cash flow places the Property in serious peril.

 3           In an attempt to remedy these issues, Lenders have been working with Borrower over the

 4    last two months to negotiate and execute forbearance agreements. These forbearance agreements

 5    are part of a broader refinancing of certain of Borrower’s third-party loans, which would result in

 6    additional operating capital flowing to Borrower to fund its operations, including the

 7    maintenance of the Property and the harvesting of the Crops. Without this additional financing,

 8    Borrower would have insufficient funds to do so. Despite these good faith efforts from all sides,

 9    those negotiations have come to a stand-still with no acceptable resolution to the existing

10    defaults or the broader refinancing transaction. Borrower continues to suffer from substantial

11    operating shortfalls, negatively impacting its operations and ability to both service its debt and

12    maintain the Property.

13           On information and belief, Borrower has provided certain crops to Touchstone Pistachio

14    Company, a processor and producer of pistachio products (“Touchstone”). On information and

15    belief, Touchstone has common ownership and management with Borrower. On information and

16    belief, Touchstone has not paid Borrower for pistachios delivered by Borrower to Touchstone for

17    at least the last several months.

18           Under the Loan Documents, the pistachios delivered by Borrower to Touchstone

19    constitute “Crops” subject to the first lien security interests of Lender. Moreover, the amounts

20    owed by Touchstone to Borrower for such Crops constitute the proceeds of Lender’s collateral

21    and are also subject to the first lien security interests of Lender. Generally, Lender would have a

22    first position, priority security interest in all of the 2024 Crops so long as the growing and

23    harvesting of the same are not financed by a third-party lender.

24           Borrower has indicated to Plaintiff that:

25                   a.        Trees on the Property need to be sprayed every six days until harvest,

26           which began early last week. If one spray is missed then the trees may be unaffected, but

27           missing two sprays will cause damage to the trees that will take several years to recover;

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                                                         3
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 1                   b.      Without regular watering, the pistachio trees may survive but the almond

 2           trees on the Property will die. These pistachio and almond trees are subject to the first

 3           lien security interests of Lender; and

 4                   c.      Borrower has significant cash flow and liquidity issues, and estimate that

 5           they will have insufficient funds to operate beyond Monday of next week. These issues

 6           are likely to result in an inability to pay payroll and maintain a sufficient workforce

 7           necessary to manage the Property and care for the trees and plants located on

 8           the Property.

 9           Further exacerbating the need to maintain the Property, including the trees, on

10    information and belief, pistachio harvest “takes place anywhere from late-August to early-

11    October when the fruit is mature and the shell has split.”2 As a result, Borrower has just begun

12    harvesting the pistachio Crop, requiring Borrower to expend significant resources. On

13    information and belief, Borrower does not have the resources to complete the harvest of the

14    pistachio Crop and will in fact have insufficient funds to operate beyond this Friday or, at the

15    latest, next Monday.

16           As a result of the foregoing, there is manifest danger of loss, deterioration, and

17    diminution of the Property, which, along with the revenue generated by its operations, are the

18    primary sources for repayment of the Loans, and Plaintiff, as an interested and secured party, is

19    threatened with material losses and injuries for which it has no adequate remedy at law

20    against Borrower.

21           Under federal and California law and as provided in the Loan Documents, Plaintiff has

22    the right to the appointment of a receiver. Plaintiff is contractually and equitably entitled to the

23    immediate appointment of a receiver to take possession of and hold, subject to the discretion of

24    this Court, the Property, its revenue, and all of the other collateral that Borrower pledged as

25    security for the Loans. Plaintiff also has the right to a preliminary injunction because it faces

26    irreparable harm should Defendant, its officers and directors, affiliates, creditors or other

27
      2
28           See https://americanpistachios.org//growing-and-harvesting.
                                                     4
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 1    interested parties not be prohibited from interfering with the Receiver in the performance of is

 2    duties herein.

 3            Plaintiff intends to provide additional funding to Receiver to allow it to maintain and

 4    manage the Property, including the trees and plants located thereon, and to complete the harvest

 5    of the Crops.

 6            On account of the foregoing and also on account of facts and information presently only

 7    within Defendant’ possession, custody, or control, Plaintiff brings the Complaint and this request

 8    for the appointment of a receiver, for an accounting, for specific performance, and for

 9    injunctive relief.

10                              ARGUMENT AND LEGAL AUTHORITY

11            1.       THE COURT SHOULD APPOINT A RECEIVER PURSUANT TO
                       FEDERAL RULE OF CIVIL PROCEDURE 66
12
              Federal Rule of Civil Procedure 66 provides, in relevant part,
13
              “The practice in the administration of estates by receivers or by other similar
14            officers appointed by the court shall be in accordance with the practice heretofore
15            followed in the courts of the United States or as provided in rules promulgated by
              the district courts. In all other respects the action in which the appointment of a
16            receiver is sought or which is brought by or against a receiver is governed by
              these                                                                       rules.”
17

18            Federal law governs the appointment of a receiver in a diversity case. Nat’l P’ship Inv.

19    Corp. v. Nat’l Hous. Dev. Corp., 153 F.3d 1289, 1291-1292 (11th Cir. 1998); New York Life Ins.

20    Co. v. Watt West Investment Corp., 755 F. Supp. 287 (E.D. Cal. 1991). “The primacy of the

21    federal rules in diversity actions is well-settled.” Canada Life Assurance Co. v. LaPeter, 563

22    F.3d 837, 843 (9th Cir. 2009). “Indeed, as the Eleventh Circuit reasoned in National Partnership,

23    ‘to the extent Rule 66 dictates what principals should be applied to federal receiverships, courts

24    must comply with the Rule even in the face of differing state law’.” Id.

25            According to federal law, the appointment of a “receiver is an extraordinary equitable

26    remedy” and must be used with caution. Id. at 844 (quoting Aviation Supply Corp. v. R.S.B.I.

27    Aerospace, Inc., 999 F.2d 314, 316 (8th Cir. 1993)). “However, there is ‘no precise formula for

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 1    determining when a receiver may be appointed’.” Id. Instead, federal courts consider a variety of

 2    factors when determining whether to appoint a receiver, including:

 3           1.      Whether the party seeking the appointment has a valid claim;
             2.      Whether there is fraudulent conduct or the probability of fraudulent conduct by
 4                   the defendant;
 5           3.      Whether the property is in imminent danger of being lost, concealed, injured,
                     diminished in value, or squandered;
 6           4.      Whether legal remedies are inadequate;
 7           5.      Whether the harm to the plaintiff by denial of the appointment would outweigh
                     the injury to the party opposing appointment;
 8           6.      The plaintiff’s probable success in the action and the possibility of irreparable
                     injury to plaintiff’s interest in the property; and
 9
             7.      Whether the plaintiff’s interests sought to be protected will in fact be well-served
10                   by receivership.

11    Id.; 12 Wright Miller & Marcus Federal Practice & Procedure: Civil, § 2983 (2d ed. 2011); see

12    also New York Life Ins. Co., 755 F. Supp. 287 (E.D. Cal. 1991) (appointing a receiver for real

13    property in circumstances similar to this case).

14           As to the first element, Plaintiff has alleged in the Complaint that Borrower has

15    committed numerous defaults under the Loan Documents, including failing to pay their

16    obligations under the Loan Documents when and as due. While the Complaint in the above-

17    captioned action has just been filed, these are allegations that Borrower cannot deny and, in fact,

18    Borrower has already acknowledged and admitted to certain of these defaults in the Forbearance

19    Agreement. In addition, the size of the obligations due and owing from Borrower are such that

20    Borrower has no real ability to cure the existing defaults. Thus, Plaintiff has a substantial,

21    ongoing, valid claim in excess of $700 million against Borrower and the first element weighs in

22    favor of the appointment of a receiver.

23           As to the second element, while there is no evidence of fraudulent conduct on the part of

24    Borrower as of yet, Plaintiff continues its investigation into Borrower and this matter, so this

25    element neither weighs in favor or against the appointment of a receiver.

26           As to the third element, Borrower is experiencing extreme financial difficulties and has

27    explicitly stated to Plaintiff it will not be able to continue operating without additional funds,

28    including being unable to maintain the Crops and the trees, and in fact will not have sufficient
                                                    6
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 1    funds to operate after this Friday or, at the latest, next Monday. As Borrower has indicated, if the

 2    trees and Crops on the Property are not cared for, substantial and long-lasting damage is likely to

 3    occur in the next several weeks and beyond. This element alone should warrant the appointment

 4    of a receiver, but at the very least certainly weighs heavily in favor of the immediate

 5    appointment of a receiver.

 6           As to the fourth element, legal remedies are inadequate. The Property, including the

 7    Crops thereon, are under an immediate threat of damage, thereby threatening the value of

 8    Plaintiff’s collateral and its ability to recover. Moreover, given the precarious financial condition

 9    of Borrower, a money judgment would likely be meaningless. Thus, this factor weighs in favor

10    of a receiver as well.

11           As to the fifth element, there would be no real injury to Borrower (or the non-Borrower

12    Defendant) caused by the immediate appointment of a receiver. The receiver would simply take

13    possession and preserve and protect the property. On the other hand, the potentially catastrophic

14    damage to Plaintiff from denial of the appointment of a receiver weighs in favor of such an

15    appointment.

16           As to the sixth element, as already discussed, Borrower has committed several

17    substantial, continuing defaults under the Loan Documents. Borrower has no real defense to

18    these various defaults, including unpaid amounts under each Note, and in fact has already

19    acknowledged and admitted to several of these defaults in the Forbearance Agreement. The

20    amounts due and owing to the Plaintiff as a result of those defaults continue to increase on a

21    daily basis. Combined with the physical damage to the Property, including the trees and the

22    Crops, which is likely to result without the appointment of a receiver, this factor also weighs in

23    favor of the appointment of a receiver.

24           Finally, as to the seventh element, Plaintiff interests in the Property would be well served

25    by the appointment of a receiver as the receiver could preserve and protect the Property while the

26    rest of the above-captioned action as well as the forthcoming foreclosure under the Instruments is

27    concluded. Without the appointment of a receiver, the Property – and thus Plaintiff’s collateral –

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 1    would be placed in substantial risk as Borrower will run out of sufficient funds to operate and

 2    maintain the Property after this Friday or, at the latest, next Monday. This factor also weighs in

 3    favor of the appointment of a receiver.

 4           In addition to the foregoing, Borrower has already consented to, and agreed not to

 5    contest, the appointment of a receiver. Each Instrument, as well as the Forbearance Agreement,

 6    contains an explicit agreement by each Borrower that is a party thereto that they agree to, and

 7    will not contest, the appointment of a receiver upon the occurrence of an event of default under

 8    the applicable Loan Documents. These explicit agreements further weigh in favor of the

 9    appointment of a receiver.

10           2.      THE COURT            SHOULD        GRANT       PLAINTIFF        A   PRELIMINARY
                     INJUNCTION
11
             “A plaintiff seeking a preliminary injunction must establish that he is likely to succeed on
12
      the merits, that he is likely to suffer irreparable harm in the absence of preliminary relief, that the
13
      balance of equities tips in his favor, and that an injunction is in the public interest.” Winter v.
14
      Nat’l Res. Def. Council, Inc., 55 U.S. 7, 20, 129 S.Ct. 365, 374, 172 L.Ed.2d 249 (2008).
15
             Plaintiff has laid out above the validity of its claim. The amounts due and owing under
16
      the Loan Documents, the defaults thereunder, and the impossibility to cure any such defaults
17
      given the size of the obligations also establish Plaintiff’s likeliness to succeed on the merits of its
18
      claim. Additionally, Plaintiff has also shown above that it is likely to suffer irreparable harm in
19
      the absence of relief, and that the balance of the equities tips in its favor. Finally, once the Court
20
      appoints a receiver herein, an injunction benefits the public interest because the receiver needs to
21
      be able fulfill his duties and obligations without potentially disruptive interference.
22
             3.      THE COURT SHOULD APPOINT LANCE MILLER OF PIVOT
23                   MANAGEMENT GROUP, LLC AS RECEIVER

24           The Plaintiff requests that Lance Miller of Pivot Management Group, LLC (“Mr.

25    Miller”) be appointed as receiver herein. Mr. Miller’s declaration in support for his proposed

26    receivership is attached hereto as Exhibit C, which, among other things, provides for an

27    overview of Pivot Management Group, LLC generally and a proposed fee schedule, and attaches

28    the proposed receiver’s curriculum vitae and bios on certain other expected team members
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 1    assisting the proposed receiver. These documents demonstrate that the proposed receiver is

 2    experienced in the maintenance, management, and daily operation of properties similar to the

 3    Property and, along with his proposed team, has a wealth of experience as a receiver.

 4                                              CONCLUSION

 5           Based upon all of the foregoing factors, pursuant to Federal Rule of Civil Procedure 66,

 6    Plaintiff respectfully submits that a receiver must be appointed in the above-captioned action to

 7    preserve and protect the Property pending a resolution of the above-captioned action. Plaintiff

 8    also respectfully request the entry of a preliminary injunction to prevent parties from interfering

 9    with the Receiver or the Receivership Property during the pendency of this receivership.

10           WHEREFORE, in view of the foregoing, the Plaintiff hereby request that the Court enter

11    an Order:

12           (i)     appointing Lance Miller of Pivot Management Group, LLC as receiver to operate,

13    preserve, and protect the Property, to collect the rents from and pay the expenses of the Property

14    (including the fees and expenses of the receiver), to turn over the net rents (if any) to the Plaintiff

15    on a monthly basis, and to take such other and further actions with regard to the Property as are

16    permitted by the Order and applicable law;

17           (ii)    enjoining the Defendant, its officers and directors, vendors, and any and all third

18    parties from interfering with the Receiver or the Receivership Property during the pendency of

19    the receivership; and

20           (iii)   providing the Plaintiff such other and further relief as the Court deems just

21    and appropriate.

22
      DATED: September 18, 2024                  SEYFARTH SHAW LLP
23

24
                                                 By     /s/ M. Ryan Pinkston
25                                                       M. Ryan Pinkston
                                                         Attorneys for Plaintiffs
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